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                    IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                         DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
                      v.                        )    Case No. 3:22-cr-0020
                                                )
TYRONE ORTIZ,                                   )
                                                )
                      Defendant.                )
                                                )

APPEARANCES:

DELIA L. SMITH, UNITED STATES ATTORNEY
EVERARD E. POTTER, ASSISTANT UNITED STATES ATTORNEY
UNITED STATES ATTORNEY’S OFFICE
ST. THOMAS, U.S. VIRGIN ISLANDS
       FOR THE UNITED STATES OF AMERICA,

MATTHEW A. CAMPBELL, FEDERAL PUBLIC DEFENDER
KIA D. SEARS, ASSISTANT FEDERAL DEFENDER
OFFICE OF THE FEDERAL PUBLIC DEFENDER
ST. THOMAS, U.S. VIRGIN ISLANDS
       FOR TYRONE ORTIZ.

                                   MEMORANDUM OPINION
MOLLOY, Chief Judge
       BEFORE THE COURT is Defendant Tyrone Ortiz’s (“Ortiz”) Motion to Suppress
Statements. (ECF No. 24.) The Court referred this matter to the Magistrate Judge for a Report
and Recommendation (“R&R”). On January 19, 2023, the Magistrate Judge issued an R&R
recommending that the Court deny the motion. (ECF No. 52) The Defendant filed an objection
to the R&R on February 1, 2023. (ECF No. 53.) For the reasons stated below, the Court will
adopt, in part, and reject, in part, the R&R.
                                   I. FACTUAL BACKGROUND
       After a de novo review of the record, including the testimony and exhibits presented
at the suppression hearing, the Court agrees with the thorough factual and procedural
background as set forth in the R&R’s statement of facts. The Court therefore adopts the
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statement of facts in full. The Court will refer to the facts only as necessary to analyze the
issue raised in Ortiz’s objections to the R&R.
        On March 15, 2022, law enforcement officials arrested Ortiz on a complaint charging
him with possession of a firearm with an obliterated serial number. Subsequent to his arrest,
Ortiz was interviewed by Homeland Security Investigations (“HSI”) Special Agent Justin
Kurtz (“SA Kurtz”) and United States Postal Inspector Eric Oram (“PI Oram”). On May 15,
2022, a grand jury returned a two-count indictment charging Ortiz with the following: (1)
possession of a firearm with an obliterated serial number in violation of 18 U.S.C. §§ 922(k)
and 924(a)(1)(B); and (2) possession of a firearm by a prohibited person in violation of 18
U.S.C. §§ 922(g) and 924(a)(2).
        Ortiz filed the instant Motion to Suppress Statements on May 16, 2022, seeking to
suppress “all statements he made to law enforcement officers or other agents of the
government.” (ECF No. 24 at 1.) Ortiz argues that he had invoked his Miranda rights during
the interview and that his rights were not scrupulously honored. Id. at 2. Ortiz further argues
that any statements were the product of psychological coercion because agents suggested
his continued silence would jeopardize his mother’s employment with the HSI office. 1 Ortiz
also alleges that he did not waive his right to remain silent.
        The Government filed its opposition on May 31, 2022. (ECF No. 77.) On June 6, 2022,
the Court referred Ortiz’ motion to suppress to the Magistrate Judge for a Report and
Recommendation. (ECF No. 28.)
        The Magistrate Judge conducted an omnibus hearing on the motion on October 28,
2022. During the hearings, the Government presented the testimony of SA Kurtz, HSI Agent
Christopher Lobdell, and PI Oram, recordings of the agents’ interview with Ortiz (Exhibits 1a
and 1b), and the “Statement of Rights” form (Exhibit 2) initialed but not signed by Ortiz. Ortiz
did not testify nor present any witnesses or exhibits. The Magistrate Judge admitted all
exhibits without objection.



1 Although he does not expressly argue this point in his motion, during the hearing Ortiz additionally argued

that SA Kurtz performed the functional equivalent of a custodial interrogation in violation of Miranda when he
laid out the evidence against Ortiz prior to administering his Miranda warnings.
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        On January 19, 2023, the Magistrate Judge issued an R&R on the motion finding that:
(1) the officers gave Ortiz his Miranda warnings; (2) Ortiz validly waived his Miranda rights;
and (3) Ortiz’s waiver of his rights and his statements were made knowingly, voluntarily,
and intelligently. See ECF No. 52. Based on these findings, the Magistrate Judge
recommended that the Court deny the Motion to Suppress. See id. at 12.
        On February 1, 2023, Ortiz filed his objections to the Report and Recommendation.
(ECF No. 53.) Ortiz first argues that the “uh-hm” and “[n]o” statements made while SA Kurtz
summarized the evidence against Ortiz at the beginning of the interview were made in
response to police interrogation and must be suppressed. Id. at 1-2. Ortiz further asserts that
he neither explicitly nor implicitly waived his Miranda rights. See id. at 2. He argues that any
statements he made were the result of psychological coercion because the interview took
place near the time of his father’s funeral and SA Kurtz “threaten[ed] not only his mother’s
job security, but her freedom . . ..” Id. at 3-4. Finally, Ortiz argues that he unequivocally
invoked his Miranda rights on three occasions and his invocations were not scrupulously
honored; thus, all his statements must be suppressed.
                                    II. LEGAL STANDARD
    A. Objections to Report and Recommendation
        Litigants may make “specific written objections” to a magistrate judge’s report and
recommendation “[w]ithin 14 days after being served with a copy of the recommended
disposition.” See Fed. R. Civ. P. 72(b)(2); see also 28 U.S.C. § 636(b)(1) (“Within fourteen days
after being served with a copy, any party may serve and file written objections to such
proposed findings and recommendations as provided by rules of court.”). When a magistrate
judge issues a report and recommendation, the Court is required to review de novo only
those portions of the report and recommendation to which a party has objected. See Fed. R.
Civ. P. 72(b)(3).
    B. Miranda Warnings
        To safeguard an individual’s Fifth Amendment privilege against self-incrimination,
the Supreme Court has held that the government may not introduce statements made by an
individual who is subject to “custodial interrogation” unless he first has been given his
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Miranda warnings. Miranda v. Arizona, 384 U.S. 436, 445 (1966). However, a suspect may
waive his Miranda rights, “provided the waiver is made voluntarily, knowingly and
intelligently.” United States v. Velasquez, 885 F.2d 1076, 1084 (3d Cir. 1989) (quoting
Miranda¸384 U.S. at 444). A waiver is voluntary, knowing, and intelligent where it is “the
product of a free and deliberate choice rather than intimidation, coercion or deception” and
is made “with a full awareness both of the nature of the right being abandoned and the
consequences of the decision to abandon it.” Id.
        A waiver need not be explicit to be effective. See North Carolina v. Butler, 441 U.S. 369,
375-76 (1979). “Where the prosecution shows that a Miranda warning was given and that it
was understood by the accused, an accused's uncoerced statement establishes an implied
waiver of the right to remain silent.” Berghuis v. Thompkins, 560 U.S. 370, 384 (2010). A
defendant’s “subsequent willingness to answer questions after acknowledging that [the
defendant] understood her Miranda rights is sufficient to constitute an implied waiver.”
United States v. Velasquez, 626 F.2d 314, 320 (3d Cir. 1980). This is because “the law can
presume that an individual who, with a full understanding of his or her rights, acts in a
manner inconsistent with their exercise has made a deliberate choice to relinquish the
protection those rights afford.” Berghuis, 560 U.S. at 385.
        Irrespective of a valid Miranda waiver, “[t]he Self–Incrimination Clause of the Fifth
Amendment guarantees that no person ‘shall be compelled in any criminal case to be a
witness against himself.’” Withrow v. Williams, 507 U.S. 680, 688 (1993) (quoting U.S. Const.,
amend. V). This protection bars the introduction of statements to law enforcement that are
not “voluntary.” Id. A statement is voluntary only when the speaker’s “will was not
overborne,” and the statement was the “product of an essentially free and unconstrained
choice by its maker, that was the product of a rational intellect and a free will.” United States
v. Swint, 15 F.3d 286, 289 (3d Cir. 1994) (internal quotation marks omitted).
        “[C]ourts look to the totality of circumstances to determine whether a confession was
voluntary.” Withrow, 507 U.S. at 693. Potential circumstances affecting the voluntariness of
statements made include: (1) the length and location of the interrogation; (2) the defendant’s
maturity, physical condition, mental health and level of education; and (3) whether Miranda
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warnings were given. Swint, 15 F.3d at 289. “[T]he crucial element” of the inquiry, however,
is “police coercion.” Withrow, 507 U.S. at 693 (emphasis added). “Unless there is ‘police
conduct causally related to the confession,’ a confession is considered voluntary. Thus, a
court will not hold that a confession was involuntary unless it finds that it was the product
of ‘police overreaching.’” Swint, 15 F.3d at 289 (citations omitted) (quoting Colorado v.
Connelly, 479 U.S. 157, 164 (1986)); see also United States v. Flemmi, 225 F.3d 78, 91 (1st Cir.
2000) (“[T]he Supreme Court has confined the voluntariness concept by holding that only
statements procured by coercive official tactics should be excluded as involuntary.” (original
alterations and internal quotation marks omitted)).
                                       III. DISCUSSION
A. Pre-Miranda Statements
        Ortiz argues that his statements made while SA Kurtz summarized the case in the
beginning of the interview, namely, “um-hm” at 1:38 minutes in response to asking him to
confirm the recited series of events, and “no” at 1:52 minutes in response to the statement “I
don’t think you’re some high-level firearms trafficker,” of Gov’t Exhibit 1a, were the result of
custodial interrogation in violation of Miranda and must be suppressed.
        The Supreme Court has defined “interrogation” as “express questioning or its
functional equivalent.” Rhode Island v. Innis, 446 U.S. 291, 301 (1980). This definition
includes “any words or actions on the part of the police (other than those normally attendant
to arrest and custody) that the police should know are reasonably likely to elicit an
incriminating response from the suspect.” Id. Mere observations regarding a suspect’s arrest
are not made in violation of Miranda. United States v. Benton, 996 F.2d 642, 644 (3d Cir.
1993). Conversely “contrived situation[s] in which a suspect, arrested after a significant time
interval following an offense, was brought to a police station and told of information which
the police had accumulated linking him to the crime” may rise to the functional equivalent of
interrogation. Id.; see United States v. Green, 541 F.3d 176, 187 (3d Cir.) (vacated on other
grounds) (“[W]e can hardly imagine a more prototypical example of the “functional
equivalent” of interrogation than when a suspect is shown a video in which he is depicted as
engaging in a criminal act.”).
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        The parties do not dispute that Ortiz was in custody when SA Kurtz began to speak
with him. However, the facts at hand make up precisely the sort of “contrived situation” that
the Third Circuit has indicated would constitute the functional equivalent of an
interrogation. Law enforcement agents arrested Ortiz on March 15, 2022, for alleged
activities occurring on or about March 10, 2022. See ECF No. 1. While Ortiz was being held at
the HSI offices, he was interviewed by SA Kurtz. Prior to administering the Miranda
warnings, SA Kurtz explained that he was going to lay out the case for Ortiz and proceeded
to detail the evidence collected against him.
        Perhaps the most telling, SA Kurtz knew that laying out the case would elicit an
incriminating response because he made a point to instruct Ortiz to not interrupt during his
summary. However, the attempt to minimize reasonable and foreseeable reactions to SA
Kurtz’s conduct does not make that conduct any less violative.
        Because SA Kurtz’s pre-Miranda recitation of the evidence against Ortiz was
reasonably likely to elicit an incriminating response, the Court finds that it was the functional
equivalent of custodial interrogation. Thus, the Court will reject the Magistrate Judge’s
finding that SA Kurtz’s preliminary statements did not constitute an interrogation in
violation of Miranda, and any pre-Miranda statements made by Ortiz will be suppressed.
B. Whether Ortiz validly waived his Miranda rights
        Ortiz did not sign a form indicating he agreed to waive his rights, nor did he explicitly
state he agreed to speak with agents. Thus, the Court must determine whether there was a
valid implied Miranda waiver. This requires the Court to consider whether Ortiz was given
his rights, whether he understood those rights, and whether any subsequent statements
were the product of coercion.
        On the recording of the interview, once he has completed his summary of the case, SA
Kurtz is heard reading Miranda warnings from a Statement of Rights form. Several times
during this reading SA Kurtz asks Ortiz if he understood what was being said. SA Kurtz
testified that Ortiz appeared to understand his rights, and Ortiz cannot be heard to say
anything to the contrary during the recording. Ortiz was provided with a Statement of Rights
form after SA Kurtz finished explaining it to him, and he initialed each of the rights listed on
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the Statement of Rights. See Gov’t Exhibit 2. There is no basis to conclude that Ortiz did not
understand those rights, and neither party argues as much. SA Kurtz further noted during
the interview that Ortiz has a prior conviction. As a result, he would have been familiar with
his Miranda rights from previous interactions with law enforcement. Thus, the Court
concludes that the Ortiz was given and understood the Miranda warnings.
        Further, Ortiz’s conduct after the warnings indicates an implied Miranda waiver. After
the Miranda warnings were administered, Ortiz neither invoked his Miranda rights nor
remained silent. Instead, he responded to several of the agents’ questions. As described
above, this willingness, alone, is sufficient to imply a Miranda waiver.
        Finally, there is no evidence that Ortiz’s statements were the product of coercion. The
interview lasted approximately forty minutes and Ortiz was interviewed by two agents SA
Kurtz and PI Ortiz, who did not carry weapons. The interview itself was calm and
conversational, as heard on the recordings.
        Ortiz argues that agents coerced him into waiving his Miranda rights when they told
him he “was facing a considerable amount of time,” and threatened “not only his mother’s
job security, but her freedom” to force him to waive his right to remain silent. See ECF No. 53
at 2,4. Ortiz further argues that he was “uniquely vulnerable” due to the recent death of his
father and that agents took advantage of his vulnerability. Id. at 3.
        However, it is not coercive for officers to accurately relay the potential outcomes
surrounding a case, even when those outcomes involve family members. See United States v.
Henderson, No. CRIM.1:06-CR-0234, 2010 WL 1565295, at *4 (M.D. Pa. Apr. 19, 2010), aff'd,
437 F. App'x 96 (3d Cir. 2011) (explaining to a suspect that, if she were arrested, her children
would be without guardians and agents would have to notify child protective services is not
coercive). While the Third Circuit has not discussed whether threats to arrest family
members constitute coercion, “courts have generally agreed that if there is probable cause
to arrest the suspect's family member, the tactic is not coercive enough to render a
confession involuntary.” United States v. Sater, 477 F. Supp. 3d 372, 385–86 (M.D. Pa. 2020)
(collecting cases).
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        According to the Affidavit in support of the Complaint in this matter, Custom and
Border Protection officers seized a package containing illegal gun parts addressed to a Post
Office Box located on St. Thomas. See ECF No. 1-1 at 2. During the interview, the agents stated
that the PO Box belonged to Ortiz’s mother. Gov’t Exhibit 1a at 8:29. It logically follows that
Ortiz would be facing considerable jail time and that law enforcement may have probable
cause to investigate his mother. Stating these probabilities does not amount to coercion.
        Additionally, the agents’ only allusion to Ortiz’s loss was when PI Oram offered Ortiz
condolences at the outset of the interview. There is no indication that the agent intended the
statement to be anything other than a polite acknowledgement, let alone a manipulative
tactic. While the loss of a parent is certainly distressing, “a defendant's mental condition, by
itself and apart from its relation to official coercion” doesn't render a statement involuntary.
Connelly, 479 U.S. at 164. Thus, absent any other indication of coercion, Ortiz’s emotional
vulnerability has no effect here.
        Accordingly, because Ortiz was read and understood his Miranda rights, showed a
willingness to respond to agents’ questions, and his statements were uncoerced, the Court
finds that there is a valid implied Miranda waiver.
C. Post-Miranda Statements
        Unlike Ortiz’s pre-Miranda statements, his post-Miranda statements in response to
the agents informing him that he faced a considerable time based on his criminal history and
the presence of obliterated serial numbers on the firearms, namely, “I mean, there is nothing
going on, got it to protect myself just in case,” and “everything is on me,” at 4:03 and 5:54
minutes of Gov’t Exhibit 1a respectively, do not need to be suppressed.
        “[A] suspect's subsequent choice to waive his or her rights after a proper
administration of Miranda warnings should ordinarily suffice to dissipate the coercive
impact of the earlier confession and to demonstrate knowledge and voluntariness.” United
States v. Johnson, 816 F.2d 918, 922–23 (3d Cir. 1987) (citing Oregon v. Elstad, 470 U.S. 298,
311 (1985)). As the Court found above, Ortiz read, understood, and waived his Miranda
rights. Since Ortiz waived his Miranda rights when he made his post-Miranda statements and
the evidence does indicate any exceptional circumstances suggesting that his post-Miranda
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statements were not voluntary, no basis exists to suppress them. United States v. Booker, No.
CRIM. 05-170-5, 2012 WL 6106846, at *8 (E.D. Pa. Dec. 10, 2012) (finding that “Booker's
‘subsequent choice to waive his . . . rights after a proper administration of Miranda warnings
. . . suffice[s] to dissipate the coercive impact of the earlier [Miranda violation] and to
demonstrate knowledge and voluntariness.’”).
D. Whether Ortiz invoked his Miranda rights
        Ortiz lastly argues that agents did not scrupulously honor the invocation of his
Miranda rights over the course of the interview.
        "[A]fter a knowing and voluntary waiver of the Miranda rights, law enforcement
officers may continue questioning until and unless the suspect clearly requests an attorney."
Davis v. United States, 512 U.S. 452, 461 (1994). The invocation, however, must be clear and
unambiguous before officers are required to cease questioning. See id. at 461-62. “Although
a suspect need not ‘speak with the discrimination of an Oxford don’ . . . he must articulate
his desire to have counsel present sufficiently clearly that a reasonable police officer in the
circumstances would understand the statement to be a request for an attorney.” Id. at 459.
Invocations that are “ambiguous or equivocal in that a reasonable police officer in light of
the circumstances would have understood only that the suspect might be invoking the right
to counsel . . .” then interrogation may continue. Id. (emphasis in original.)
        Ortiz points to three statements, namely, at 7:44 and 9:05 minutes of the Gov’t Exhibit
1a recording, and at 3:28 minutes of the Gov’t Exhibit 1b recording, which he alleges are
invocations of Miranda.
        As to his statement at 7:44 minutes, Ortiz contends that he states, “I don’t feel like
talking right now.” (ECF No. 53 at 5.) In the R&R, the Magistrate Judge found that Ortiz said,
“I don’t know if I could talk right now” on the recording. (ECF No. 52 at 10 n.12) Having
reviewed the recording, the Court agrees with the Magistrate Judge’s finding.
        The statement “I don’t know if I could talk right now” is, by itself, ambiguous and
equivocal. A reasonable officer faced with a sentence beginning with indecisiveness would
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not necessarily conclude that a defendant is invoking his rights. 2 Further, prior to this
statement, agents ask Ortiz if he is taking all the blame for the allegations, stating “Maybe
there’s a happy medium. Maybe there’s information that you have that can still help you out
a little bit . . . but we need to talk about it.” Gov’t Exhibit 1a at 7:27. “I don’t know if I could
talk right now” appears to be a response to that question directly, rather than a statement
alluding to a general desire to stop questioning. 3 Thus, the Court finds that the statement at
7:44 minutes is ambiguous and equivocal, and that Ortiz did not invoke his Miranda rights at
that time.
        At 9:05 minutes of Gov’t Exhibit 1a, Ortiz states that he found one of the three guns
involved in the charges, which prompts SA Kurtz to say: “And then you took the other two
from somebody. Is that a friend of yours?” In response, Ortiz states: “I don’t want to say
nothing else.” Id. at 9:30 minutes. Ortiz argues that this statement is a valid invocation of his
Miranda rights. The Court disagrees.
        In the context of the conversation, Ortiz is again expressing discomfort with
implicating third parties. This is a response to a specific question, rather than an
unambiguous and unequivocal request for an attorney. The Court finds that Ortiz’s statement
at 9:05 minutes is not a valid invocation of Ortiz’s Miranda rights.
        Finally, at 3:28 minutes of Gov’t Exhibit 1b, Ortiz states, “I don’t have nothing to talk
about” after the agents remark that Ortiz could help his situation by informing on others. The
Court finds that Ortiz’s statement is equally, if not more, equivocal than his prior statements,
and it is made in response to an inquiry about implicating third parties. Thus, it could
reasonably be construed as a desire not to answer questions about third parties. 4 The Court




2 See e.g. United States v. Barreras, No. 2:19-CR-41, 2019 WL 6878821, at *8 (S.D. Ga. Nov. 25, 2019), report and

recommendation adopted, No. 219-CR-41, 2019 WL 6878540 (S.D. Ga. Dec. 16, 2019) (finding that “I don’t know.
I don’t really want to talk about it anymore” is equivocal and ambiguous).
3 See e.g. United States v. McWhorter, 515 Fed. App'x 511, 517 (6th Cir. 2013) (“I don't want to talk to you

anymore,” was a response indicating the suspect did not want to talk about the subject of police force, not
general invocation of the right to remain silent).
4 See e.g. United States v. Yodprasit, No. CR15-4085-MWB, 2016 WL 1069671, at *6 (N.D. Iowa Mar. 17, 2016)

(“I've got noth'n else to say—what I've already told you guys is what I wanna say” is not an unequivocal
invocation)
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finds that Ortiz did not unequivocally and unambiguously invoke his right to counsel at 3:28
minutes or at any time during the interview.
                                     IV. CONCLUSION
        For the reasons stated herein, Ortiz’ objections as to the pre-Miranda statements are
sustained and the Magistrate Judge’s Report and Recommendation as to this point is rejected.
The Court otherwise overrules all objections to the Report and Recommendation and adopts
the remaining Report and Recommendation in full.
        An appropriate Order follows.


Date: April 10, 2024                              /s/_Robert A. Molloy_________
                                                  ROBERT A. MOLLOY
                                                  Chief Judge
